8:02-cr-00312-JFB-FG3             Doc # 237   Filed: 05/20/15   Page 1 of 2 - Page ID # 922




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                    8:02CR312

       vs.
                                                         MEMORANDUM AND ORDER
FRANCISCO CEBALLOS ,

                     Defendant.


       This matter is before the court on the defendant's unopposed motion for a sentence

reduction, Filing No. 235. This is a motion filed pursuant to Amendment 782 to the United

States Sentencing Guidelines, (sometimes called the “drugs minus two” or the “2014 drug

guidelines amendment”) which reduces offense levels assigned in the Drug Quantity Table

by two levels, resulting in lower guideline ranges for many drug trafficking offenses. See

U.S.S.G. § 1B1.10(d) & (e)(1) (Nov. 1, 2014).        The Sentencing Commission has given

retroactive effect to the amendment. Id., U.S.S.G., App. C (Supp.), amendment 788 at 87-

88.

       The parties stipulate that the retroactive amendment to the drug quantity table

changes the total adjusted offense level in the defendant's case from 35 to 33 and the

defendant's guideline range from 210 to 262 months to 168 to 210 months imprisonment.

Filing No. 236, Stipulation. The government and the defense agree that the new reduced

sentence under the amended guidelines should be 168 months based on the prior

computation of specific offense characteristics, adjustments, and any departures. Id. The

parties further agree that the defendant may be re-sentenced without being present and

without further notice and that any supervised release should be the same term and

conditions as originally decided. Id.
8:02-cr-00312-JFB-FG3        Doc # 237     Filed: 05/20/15       Page 2 of 2 - Page ID # 923




       In consideration of the factors set out in 18 U.S.C. § 3553(a), the court finds that a

sentence reduction will satisfy the goals of sentencing in this case.         The court has

considered the nature and circumstances of the offense, the characteristics of the offender,

public safety, deterrence, and the sentencing guidelines in making this decision.          In

connection with public safety, the court has reviewed the defendant's record while in prison

and considered whether a reduction in defendant's sentence poses a danger to any person

or to the community.

       The record shows that the defendant is eligible for a 42 month reduction in sentence,

resulting in a new sentence of 168 months. See Filing No. 232, Retroactive Sentencing

Worksheet (restricted). Such a reduction would have resulted in a new projected release

date prior to November 1, 2015 . However, reduced sentences do not become effective

until November 1, 2015. U.S.S.G. § 1B1.10(e)(1) and comment. (n.6). Because that date

falls on a Sunday, the court finds a release date of November 2, 2015, is appropriate under

the circumstances. Accordingly, it is hereby ordered that:

       1.     The defendant's unopposed motion for a sentence reduction (Filing No. 235)

is hereby granted.

       2.     The parties’ stipulation regarding sentence reduction (Filing No. 236) is

approved.

       3.     An Order Regarding Motion For Sentence Reduction Pursuant To 18 U.S.C.

§ 3582(C)(2) will issue this date, effective November 2, 2015.

       Dated this 20th day of May, 2015.

                                                  BY THE COURT:

                                                  s/ Joseph F. Bataillon
                                                  Senior United States District Judge



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